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Case 2:13-cv-00400-RMP  ECFNo.16 filed 05/07/14 PagelD.62 Page1of4

Steven D. Robinson, WSBA #12999
Michael M. Feinberg, WSBA #11811
KARR TUTTLE CAMPBELL

701 Fifth Avenue, Suite 3300
Seattle, Washington 98104

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

STANLEY SUPPLY & TOOL, INC., a New
York Corporation,

Plaintiff,
Vv.

UNIVERSAL FUNDING CORPORATION,
a Washington corporation,

Defendant.

UNIVERSAL FUNDING CORPORATION, |
a Washington corporation,

Third Party Plaintiff,
Vv.

STANLEY SUPPLY & TOOL, INC., a New
York corporation, GREGG HAGGERTY and
GRACE HAGGERTY, individually and the
marital community comprised thereof,

Third Party Defendants.

~ STIPULATION AND AGREED MOTION

FOR DISMISSAL WITH PREJUDICE - 1
CASE NO. CV-13-00400-RMP
#931126 v1 /42910-001

Hon. Rosanna M. Peterson

CASE NO. CV-13-00400-RMP

STIPULATION AND
AGREED MOTION FOR
DISMISSAL WITH
PREJUDICE

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Case 2:13-cv-00400-RMP  ECFNo.16 filed 05/07/14 PagelD.63 Page2of4

STIPULATION
The parties, through their undersigned counsel of record, hereby stipulate
that all claims, counterclaims, third patty claims and causes of action of the parties
in the above-captioned action may be dismissed with prejudice and without costs.
AGREED MOTION
The parties, through their undersigned counsel of record, hereby move the
court for entry of an order, pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(ID), dismissing
all claims, counter claims, third party claims and causes of action in this matter
with prejudice and without costs
DATED this 7th day of May, 2014.
KARR TUTTLE CAMPBELL
By /s/ Steven D. Robinson

Steven D. Robinson, WSBA #12999
Email: sdrobinson@karrtuttle.com

‘By /s/ Michael M. Feinberg

Michael M. Feinberg, WSBA #11811
Email: mfeinberg@karrtutle.com

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Attorneys for Plaintiff Stanley and Third
Party Defendants Haggerty

STIPULATION AND AGREED MOTION KARR TUTTLE CAMPBELL
FOR DISMISSAL WITH PREJUDICE - 2 : : 701 Fifth Avenue, Suite 3300
CASE NO. CV-13-00400-RMP Seattle, Washington 98104

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Case 2:13-cv-00400-RMP ECF No.

NOLD MUCHINSKY PLLC

16 ~—s filed 05/07/14 PagelD.64 Page 3of4

By /s/ David A Nold
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By /s/ Amy_K. D’Amao

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Bellevue, WA 98004

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STIPULATION AND AGREED MOTION KARR TUTTLE CAM PBELL

FOR DISMISSAL WITH PREJUDICE - 3
CASE NO. CV-13-00400-RMP
#931126 v1 / 42910-001

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Case 2:13-cv-00400-RMP ECFNo.16 filed 05/07/14 PagelD.65 Page4of4

DECLARATON OF FILING
I, Heather L. White, declare under the penalty of perjury under the laws of

the state of Washington that I am employed by Karr Tuttle Campbell in King
County, in the State of Washington. I am over the age of 18 and dt a party to the
within action. My business address is: 701 Fifth Ave., Suite 3300, Seattle, WA
98104. On the date set forth below, I caused to be filed with the United States
District Court for the Eastern District of Washington the foregoing
STIPULATION AND AGRED MOTION FOR DISMISSAL WITH PREJUDICE
by using the Court’s electronic filing system.

Executed on this 7th day of May, 2014, at Seattle, Washington.

~

Heather L. White
Assistant to Steven D. Robinson

STIPULATION AND AGREED MOTION KARR TUTTLE CAMPBELL
FOR DISMISSAL WITH PREJUDICE - 4 701 Fifth Avenue, Suite 3300
CASE NO. CV-13-00400-RMP Seattle, Washington 98104

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